902 F.2d 27Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Darnell Henry BRYANT, Plaintiff-Appellant,v.Ronald O. GREGORY, Commissioner;  Carl Legursky, Warden,West Virginia Penitentiary;  Tammy Bober, ClassificationDepartment, WVP;  John Doe, Classification Department, WVP,individually and in their official capacities, Defendants-Appellees.
    No. 90-7274.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 2, 1990.Decided April 18, 1990.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  William M. Kidd, District Judge.  (C/A No. 90-13-E)
      Darnell Henry Bryant, appellant pro se.
      N.D.W.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Darnell Henry Bryant appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bryant v. Gregory, C/A No. 90-13-E (N.D.W.Va. Jan. 18 and Feb. 1, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    